Case 1:20-cv-04831-WMR
GEORGIA, FULTON COUNTY

STATE COURT OF FULTON COUNTY

r Civil Division

Ashley Bell
clo The Doherty Law Firm, 1768 Century Blvd

NE StA, Atlanta GA 30345
Plaintiffs Name, Address, City, State, Zip Code ©

 

 

 

vs.

Fitness International, LLC d/b/a LA Fitness
c/o CT Corporation, 289 S Culver St.
Lawrenceville GA 30046

Defendant’s Name, Address, City, State, Zip Code

 

 

 

SUMMONS
TO THE ABOVE NAMED-DEFENDANT:

Document 1-1 Filed 11/30/20 Page 1 of 5

DO NOT WRITE IN THIS SPACE

CIVIL ACTION FILE #:

**E-FILED**
20EV006340

10/27/2020 3:47 PM

LeNora Ponzo, Clerk

Civil Division

 

 

TYPE OF SUIT

] ACCOUNT

] CONTRACT

|} NOTE

] TORT

] PERSONAL INJURY

] TROVER
] SPECIAL LIEN

[ ] NEW FILING

 

AMOUNT OF SUIT
PRINCIPAL $
INTEREST $

’ ATTY. FEES $

] FOREIGN JUDGMENT

COURT COST $

RAEKKAAERAEN

{ ] RE-FILING: PREVIOUS CASE NO.

 

 

You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiffs Attorney, or on Plaintiff if no Attorney, to-wit:

Name: Akins Doherty, The Doherty Law Firm

 

Address: 1768 Century Blvd, NE, Ste A

 

City, State, Zip Code: Atlanta, GA 30345

Phone No

 

8

c

.(404) 963-7964

 

An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., 5.W.,

Ground Floor, Room TG300, Atlanta, GA 30303.

LeNora Ponzo, Chief Clerk (electronic signature)

 

SE RVICE INFORMATION:
Served, this day of , 20

 

WRITE VERDICT HERE:

DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

 

We, the jury, find for

 

This day of : , 20

(STAPLE TO FRONT OF COMPLAINT) .

Foreperson
Case 1:20-cv-04831-WMR Document 1-1 Filed 11/30/20 Page 2 of 5 “E-FILED™

. 20EV006340
IN THE STATE COURT OF FULTON COUNTY 10/27/2020 3:47 PM
STATE OF GEORGIA LeNora forme, Clerk
Ashley Bell,
Plaintiff,
Vv. Jury Trial Demanded

Fitness International, LLC d/b/a LA Fitness & CV Action No.:
Doe Corporation 1,

Defendants.

 

 

Complaint for Damages

Comes now Plaintiff Ashley Bell, by and through her undersigned counsel of record, and
for her complaint for damages against the above Defendants, states as follows:
| Jurisdiction, Venue, and Parties

1. This Court has subject matter jurisdiction over this action pursuant to O.C.G.A. §15-7-4(a)(2).

2. The Plaintiff is a Georgia resident that was injured as a result of Defendant’s negligence.

3. This Court has personal jurisdiction over Defendant Fitness International, LLC d/b/a LA Fitness
(“LA Fitness’’) because it operates an exercise fitness facility in Georgia. Defendant LA Fitness is
a foreign limited liability company with its principal office address in 3161 Michelson Drive, Ste
600, Irvin, CA 92612. Its registered agent is CT Corporation System, located at 289 S Culver
Street, Lawrenceville, GA 30046. |

4. Venue is proper in this court pursuant to O.C.G.A.§ 9-10-93 because the injury occurred in Fulton

County.

Statement of Facts
5. The preceding paragraphs are hereby incorporated by reference as if set forth herein.
6. On November 5, 2018, the Plaintiff went to an LA Fitness facility located at 6385 Old National

Highway, Atlanta, GA 30349 to exercise.
10.

‘ll.

12.

13.

14.

15.

Case 1:20-cv-04831-WMR Document 1-1 Filed 11/30/20 Page 3 of 5

She got on a Stairmaster equipment at the LA Fitness on Old National Highway and as she began
to use the Stairmaster equipment, the Stairmaster equipment failed and collapsed, causing her to
fall down.

As a result of the fall, she broke her right ankle, right heel bone, and her cuboid joint was severely
crushed, which provides stability to the foot. She was eventuaily treated by several doctors and
was diagnosed with a comminuted fracture of the calcaneus, which has developed to arthritis. She
also suffered a dorsal avulsion fracture from the neck of the talar bone in her nght ankle.

A subsequent inspection of the Stairmaster equipment showed that the whole chain system in the
Stairmaster equipment was out of alignment, particularly the lower chain drive sprocket. Further
the shaft in the Stairmaster equipment was not properly aligned and would not feed properly into
the pillow block of the equipment. This was due to improper maintenance on the part of LA
Fitness.

Count I
Negligent Hiring, Training, and Supervision

The preceding paragraphs are hereby incorporated by reference as if set forth herein.
Defendant LA Fitness was negligent in hiring, training, and supervising the individuals for
inspecting, cleaning, and maintaining the Stairmaster on which Plaintiff was injured.
Defendant LA Fitness’s negligence in hiring, training, and supervising these individuals was the
factual and proximate cause of Plaintiff's injuries.
Count 2

Premises Liability
The preceding paragraphs are hereby incorporated by reference as if set forth herein.
Defendant owed a duty to invitees such as Plaintiff to keep the premises and all the exercise
equipment in a safe condition.

Prior to the subject incident, Defendant was aware or should have been aware that the Stairmaster

equipment was not functioning properly and that the chain system was out of alignment.

Page 2 of 4
16.

17.

18.

19.

20.

21.

Case 1:20-cv-04831-WMR Document 1-1 Filed 11/30/20 Page 4 of 5

Count 3
Negligent Inspection, Repair, & Maintenance
The preceding paragraphs are hereby incorporated by reference as if set forth herein.
Defendant was negligent in inspecting, repairing, and maintaining the Stairmaster on which
Plaintiff fell.
Defendant’s negligence in inspecting, repairing and maintaining the Stairmaster resulted in
Plaintiff's injuries.
Count 4
Attorney’s Fees under O.C.G.A. §13-6-11
The preceding paragraphs are hereby incorporated by reference as if set forth herein.
Defendant LA Fitness has been stubbornly litigious and has caused the Plaintiff unnecessary
trouble and expense.
Defendant LA Fitness is responsible for the Plaintiff's attorney’s fees pursuant to O.C.G.A.§ 13-
6-11.
Prayer for Relief
WHEREFORE, Plaintiff demands a jury trial and the following relief:
a) Past medical expenses:
i. Grady EMS: $2,004.25;

ii. Wellstar Atlanta Medical Center: $8,030.00;

ii. MRI Imaging Specialists: $3,780.00;

iv. Emory Foot & Ankle Clinic: $2,220.00;

v. Southern Crescent Physical Therapy: $8,061.97;

vi. Future Medical Expense: $50,000.00;

b) Lost wages: $150,000.00+,

c) Future medical expenses as determined by a jury;

Page 3 of 4
Case 1:20-cv-04831-WMR Document 1-1 Filed 11/30/20 Page 5of5

. d) Past and future pain and suffering as determined by enlightened and impartial
jurors; and
e) Any relief to which the Plaintiff may be entitled.

This 27" day of October, 2020.
Respectfully submitted,

DOHERTY LAW FIRM.

/s/ Akins Doherty

 

Akins Doherty
Georgia Bar No. 422058
Attorney for Plaintiff

1768 Century Blvd, NE
Suite A

Atlanta, Georgia 30345

P: (404) 963-7964

F; (404) 609-2608
akins@akinsdohertylaw.com

Page 4.0f 4
